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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 JUAN R. VICENTE,
 JUAN ZAMORA and
 LUIS BENITEZ,
 on behalf of themselves, FLSA Collective
 Plaintiffs and the Class,                           Case No. 18-cv-419

                        Plaintiffs,                  PLAINTIFFS’ LOCAL RULE 56.1
                                                     STATEMENT OF MATERIAL FACTS
                     -against-

 LJUBICA CONTRACTORS LLC and
 PREDRAG JANKOVIC,

                        Defendants.



       Plaintiffs JUAN R. VICENTE, JUAN ZAMORA and LUIS BENITEZ (together, the

“Plaintiffs”), by their attorneys, Lee Litigation Group, PLLC, in support of their motion for

summary judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure, submit the

following Statement of Material Facts pursuant to Rule 56.1 of the Local Civil Rules of the

United States District Court for the Eastern District of New York:

       1.      Defendant LJUBICA CONTRACTORS LLC is a domestic limited liability

organized under the laws of the State of New York, with an address for service of process at 150

E. 56th Street, New York, New York 10022. See Exhibit A`` (New York State Corporation

Search).

       2.      At all relevant times, Individual Defendant PREDRAG JANKOVIC owned and

operated a business through Corporate Defendant LJUBICA CONTRACTORS LLC. See

Defendants’ Answer to the First Amended Complaint, Dkt. # 26, ¶ 4.
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        3.       Defendants employed Plaintiffs through Corporate Defendant LJUBICA

CONTRACTORS LLC. See Defendants’ Answer to the Class and Collective Action Complaint,

Dkt. # 7, ¶ 2.

        4.       Plaintiff JUAN R. VICENTE was employed as a general construction worker by

Defendants from April 2015 through November 2016.

        5.       Plaintiff JUAN R. VICENTE was hired directly by Individual Defendant

PREDRAG JANKOVIC.

        6.       For Plaintiff JUAN R. VICENTE’s employment period, Plaintiff VICENTE was

scheduled to work from 8:00am to 4:00pm, for six to seven days per week, every workweek.

        7.       For Plaintiff JUAN R. VICENTE’s employment period, Plaintiff VICENTE

worked beyond his scheduled work schedule until 8:00pm to 10:00pm, at least four times per

week, every workweek.

        8.       Plaintiff JUAN R. VICENTE worked with a thirty minute meal break every

workday.

        9.       Plaintiff JUAN R. VICENTE was compensated on a daily fixed salary rate of

$120 per workday, for a total of $720 to $840 per workweek, regardless of actual hours worked.

There was never any understanding that the fixed salary was intended to cover any overtime

hours worked by Plaintiff VICENTE.

        10.      Plaintiff JUAN R. VICENTE was not compensated for at least four (4) weeks of

pay because Defendants stopped paying employees.

        11.      Plaintiff JUAN ZAMORA was employed as a general construction worker by

Defendants from January 2016 through September 2016.




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       12.    Plaintiff JUAN ZAMORA was hired directly by Individual Defendant

PREDRAG JANKOVIC.

       13.    For Plaintiff JUAN ZAMORA’s employment period, Plaintiff ZAMORA was

scheduled to work from 8:00am to 4:00pm, for six to seven days per week, every workweek.

       14.    For Plaintiff JUAN ZAMORA’s employment period, Plaintiff ZAMORA worked

beyond his scheduled work schedule until 8:00pm to 10:00pm, at least four times per week,

every workweek.

       15.    Plaintiff JUAN ZAMORA worked with a thirty minute meal break every

workday.

       16.    Plaintiff JUAN ZAMORA was compensated on a daily fixed salary rate of $160

per workday, for a total of $960 to $1120 per workweek, regardless of actual hours worked.

There was never any understanding that the fixed salary was intended to cover any overtime

hours worked by Plaintiff ZAMORA.

       17.    Plaintiff JUAN ZAMORA was not compensated for four (4) weeks of pay

because Defendants stopped paying employees.

       18.    Plaintiff LUIS BENITEZ was employed as a general construction worker by

Defendants from June 2014 through December 31, 2016.

       19.    For Plaintiff LUIS BENITEZ’s employment period, Plaintiff BENITEZ was

scheduled to work from 8:00am to 4:00pm, for six to seven days per week, every workweek.

       20.    For Plaintiff LUIS BENITEZ’s employment period, Plaintiff BENITEZ worked

beyond his scheduled work schedule until 8:00pm to 10:00pm, at least four times per week,

every workweek.

       21.    Plaintiff LUIS BENITEZ worked with a thirty minute meal break every workday.




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      22.    Plaintiff LUIS BENITEZ was compensated on a daily fixed salary rate of $150

per workday, for a total of $900 to $1050 per workweek, regardless of actual hours worked.

There was never any understanding that the fixed salary was intended to cover any overtime

hours worked by Plaintiff BENITEZ.

      23.    Plaintiff LUIS BENITEZ was not compensated for at least four (4) weeks of pay

because Defendants stopped paying employees.

      24.    Defendants failed to provide any wage notices to Plaintiffs, as required under the

New York Labor Law. None were provided during discovery.

      25.    Defendants failed to provide any wage statements to Plaintiffs, as required under

the New York Labor Law. None were provided during discovery.


Dated: New York, New York                          Respectfully submitted,
       June 28, 2019                               LEE LITIGATION GROUP, PLLC

                                           By:     /s/ C.K. Lee
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                                                   Attorneys for Plaintiffs, FLSA Collective
                                                   Plaintiffs and the Class




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